Case 8:19-cv-02612-MSS-SPF Document 40 Filed 04/02/20 Page 1 of 2 PageID 340




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

KELVIN DANIELS, individually and on
behalf of all those similarly situated,

       Plaintiff,

v.                                                          Case No: 8:19-cv-2612-T-35SPF

GOVERNMENT EMPLOYEES
INSURANCE COMPANY,

       Defendant.


                                           NOTICE

       THIS CAUSE comes before the Court sua sponte. The Undersigned discloses that

her husband recently resolved a total loss claim in which GEICO was the insurer. Thus,

it would facially appear that the Undersigned’s husband is a putative class member in this

action. See Guide to Judiciary Policy, Vol. 2B, Ch. 2, Advisory Opinion No. 90 (“All

members of the class are parties whether named or unnamed, so long as they have not

opted out of the class.”)

       “A judge who opts out of the class need not recuse from a class action.” Code of

Conduct for United States Judges, Compendium of Selected Opinions Concerning

Judicial Canon 3, § 3.1-6[4](e). Further, “if a judge learns of a disqualifying financial

interest in a party before expending judicial time on the case, the judge may avoid

disqualification by divesting . . . herself of the interest.” See Guide to Judiciary Policy, Vol.

2B, Ch. 2, Advisory Opinion No. 69. Therefore, the Undersigned and her husband hereby

opt out of any class action pertaining to a total loss claim with GEICO and renounce any
Case 8:19-cv-02612-MSS-SPF Document 40 Filed 04/02/20 Page 2 of 2 PageID 341




potential recovery that might result from these proceedings.

      DONE and ORDERED in Tampa, Florida, this 2nd day of April, 2020.




Copies furnished to:
Counsel of Record
Any Unrepresented Person




                                            2
